Case: 1:22-cv-04405 Document #: 1-1 Filed: 08/18/22 Page 1 of 3 PageID #:29




                                                                EXHIBIT 1
      Case: 1:22-cv-04405 Document #: 1-1 Filed: 08/18/22 Page 2 of 3 PageID #:30




888 SEVENTH AVENUE                                                            PHILIP L. FRAIETTA
N E W YO RK , N Y 1 0 0 1 9                                                      Tel: 6 4 6 . 8 3 7 . 7 1 5 0
www.bursor.com                                                                   Fax: 2 1 2 . 9 8 9 . 9 1 6 3
                                                                              pfraietta@bursor.com

                                        August 17, 2022

Via Certified Mail – Return Receipt Requested

Mobile Fidelity Sound Lab, Inc.
Attn: Legal Department
1811 West Bryn Mawr Avenue
Chicago, Illinois 60660

Re:     Notice and Demand Letter Pursuant to U.C.C. § 2-607;
        North Carolina Unfair and Deceptive Trade Practices Act, N.C.G.S. §§ 75-1.1, et seq.;
        and all other state and local laws

        This letter serves as a preliminary notice and demand for corrective action to Mobile
Fidelity Sound Lab, Inc. (“MoFi” or “You”) pursuant to U.C.C. § 2-607(3)(a) concerning
breaches of express and implied warranties, as well as numerous provisions North Carolina
law—including but not limited to the North Carolina Unfair and Deceptive Trade Practices Act,
N.C.G.S. §§ 75-1.1, et seq.—on behalf of our client, Adam Stiles, and a class of all similarly
situated purchasers of MoFi vinyl records labeled as “Original Master Recording” prior to July
15, 2022 (the “Records”) This letter provides statutory notice of our intent to file a class action
lawsuit.

         In or about February 2022, while in North Carolina, Mr. Stiles purchased The Pretenders’
self-titled debut album directly from Your website for approximately $40. Mr. Stiles saw and
relied on the representation that the Record was the “Original Master Recording,” as well as
representations that the was made using the “Gain 2 Ultra Analog System,” which “only
utilize[s] first generation original master recordings as source material,” and that “any sonic
artifacts present are a product of the original master tape.” Likewise, neither Your website nor
the Record itself made any mention of Your use of digital mastering technologies such as direct
stream digital (“DSD”) in the production chain of the Record. Mr. Stiles also relied on these
omissions in purchasing the Record. However, Your representations were not true. In July
2022, it was revealed that Your Records use digital mastering technologies in their production
chain and are therefore not “analog” recordings. This includes the Record purchased by Mr.
Stiles. Your misrepresentations and omissions deceived and injured Mr. Stiles and putative
Class Members because Mr. Stiles and putative Class Members would not have purchased the
Records, or would not have paid as much for them, had they been aware the Records were not
“analog” recordings, and that You used digital mastering technologies in the production chain of
the Records. Your misrepresentations and omissions are in violation of your express and implied
warranties, the North Carolina Unfair and Deceptive Trade Practices Act, and constitute fraud.
     Case: 1:22-cv-04405 Document #: 1-1 Filed: 08/18/22 Page 3 of 3 PageID #:31
                                                                                         PAGE 2




        On behalf of our client and the putative Class, we hereby demand that You immediately
make full restitution to all purchasers of the Records of all purchase money obtained from sales
thereof.

        We also demand that You preserve all documents and other evidence which refer or relate
to any of the above-described practices during the applicable class periods, including
electronically stored information and including, but not limited to, the following:

     1. All documents concerning the packaging, labeling, manufacturing, and production
        process for the Records;

     2. All documents concerning the pricing, advertising, marketing, and/or sale of the
        Records;

     3. All communications with customers involving complaints or comments concerning
        the Records;

     4. All documents concerning communications with any manufactured, distributer,
        supplier, or other retailer involved in the marketing or sale of the Records;

     5. All documents concerning Your use of digital technologies such as DSD in the
        production of the Records; and

     6. All documents concerning the total revenue derived from sales of the Records.

       If you contend that any statement in this letter is inaccurate in any respect, please provide
us with your contentions and supporting documents immediately upon receipt of this letter.

        Please contact me right away if you wish to discuss an appropriate way to remedy this
matter. If I do not hear from you promptly, I will take this as an indication that you are not
interested in discussing this offer of resolution.

                                                      Very truly yours,




                                                      Philip L. Fraietta
